                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                 8:17CR372

       vs.
                                                                   ORDER
ANGELO C. DOUGLAS,

                      Defendant.


       This matter is before the Court on Defendant Angelo Douglas’s Notice of Appeal,

ECF No. 105, Motion for Certificate of Appealability, ECF No. 106, and Clerk’s

Memorandum regarding Defendant’s in forma pauperis status, ECF No. 107.

       “An appeal may not be taken in forma pauperis if the trial court certifies in writing

that it is not taken in good faith.” 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24(a)(3)(A).

Defendant seeks to appeal the Court’s denial of his § 2255 petition, arguing that the

Supreme Court’s decision in United States v. Davis, 139 S. Ct. 2319 (2019), applies to

his conviction and sentencing.        Davis found the residual clause of 18 U.S.C.

§ 924(c)(3)(B) to be unconstitutionally vague.     However, Defendant’s crime of bank

robbery under 18 U.S.C. § 2113(a), even if committed through intimidation, was a

qualifying predicate offense as a crime of violence under 18 U.S.C. § 924(c)(3)(A). Estell

v. United States, 924 F.3d 1291, 1293 (8th Cir. 2019). The Eighth Circuit has already

addressed the application of Davis to convictions under § 924(c)(3)(A). Kidd v. United

States, 929 F.3d 578, 581 (8th Cir. 2019) (“Because § 924(c)(3)(A) applies in this case,

the Supreme Court’s recent decision in United States v. Davis does not afford [petitioner]

the relief he seeks.”) (citing Davis, 139 S. Ct. 2319). Therefore, this Court certifies that
this appeal is not taken in good faith, and Defendant is not permitted to proceed on appeal

in forma pauperis.

      This Court declined to issue a certificate of appealability when it denied

Defendant’s petition. Defendant may request a certificate from the Court of Appeals.

      Accordingly,

      IT IS ORDERED:

      1. Defendant may not proceed on appeal in forma pauperis;

      2. Defendant’s Motion for a Certificate of Appealability, ECF No. 106, is denied;

      3. The Clerk of Court shall send a copy of this Order to the United States Court of

          Appeals for the Eighth Circuit; and

      4. The Clerk of Court shall mail a copy of this Order to the Defendant at his last

          known address.

      Dated this 13th day of March, 2020.



                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Senior United States District Judge




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